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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 14-764V
                                      Filed: October 3, 2014
                                       Not for Publication

*************************************
S.Y., a Minor, by her Mother and Natural *
Guardian, MICHELLE BRITTAIN,                  *
                                              *
               Petitioner,                    *                   Voluntary dismissal under
                                              *                   Vaccine Rule 21(a)
 v.                                           *
                                              *
SECRETARY OF HEALTH                           *
AND HUMAN SERVICES,                           *
                                              *
               Respondent.                    *
                                              *
*************************************
John R. Howie, Jr., Dallas, TX, for petitioner.
Glenn A. MacLeod, Washington, DC, for respondent.

MILLMAN, Special Master

                            ORDER CONCLUDING PROCEEDINGS1

        On August 22, 2014, petitioner filed a petition under the National Childhood Vaccine
Injury Act, 42 U.S.C. §§ 300aa-10–34 (2006), alleging that her daughter, S.Y., suffered epilepsy as
a result of the TdaP, Meningitis, Varicella and Gardasil vaccinations she received on August 2,
2011.

       On October 3, 2014, petitioner filed Petitioner’s Notice of Voluntary Dismissal, stating she
gives notice of her voluntary dismissal pursuant to Vaccine Rule 21(a).


1
 Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’s website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899,
2913 (Dec. 17, 2002). Vaccine Rule 18(b) states that all decisions of the special masters will be made
available to the public unless they contain trade secrets or commercial or financial information that is
privileged and confidential, or medical or similar information whose disclosure would constitute a clearly
unwarranted invasion of privacy. When such a decision is filed, petitioner has 14 days to identify and
move to delete such information prior to the document’s disclosure. If the special master, upon review,
agrees that the identified material fits within the banned categories listed above, the special master shall
delete such material from public access.
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        Accordingly, pursuant to Vaccine Rule 21 (a), the above-captioned case is hereby
dismissed. The Clerk of the Court is hereby instructed that a judgment shall not enter in the
instant case pursuant to Vaccine Rule 21(a).

                                       CONCLUSION

       Proceedings are concluded in this case.


IT IS SO ORDERED.


Dated: October 3, 2014                                                     s/ Laura D. Millman
                                                                              Laura D. Millman
                                                                               Special Master




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